                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                                 June 18, 2019
                                                                          Clerk, U.S. Bankruptcy Court



         Below is an order of the court.

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 5                                                       _______________________________________
                                                                   PETER C. McKITTRICK
 6                                                                 U.S. Bankruptcy Judge

 7
 8                               UNITED STATES BANKRUPTCY COURT

 9                                 FOR THE DISTRICT OF OREGON

10   In Re:                                       Bankruptcy Case
                                                  No. 16-33185-pcm7
11   PETER SZANTO,

12                       Debtor.
                                                  Adv. Proc. No. 16-3114-pcm
13   PETER SZANTO,
14                       Plaintiff,               ORDER DENYING PLAINTIFF’S NOTICE
            v.                                    OF MOTION AND MOTION TO POSTPONE
15
                                                  TRIAL (Doc. 449)
16   EVYE SZANTO, VICTOR SZANTO, NICOLE
     SZANTO, KIMBERLEY SZANTO, MARIETTE
17   SZANTO, ANTHONY SZANTO, AUSTIN
     BELL, JOHN BARLOW, and BARBARA
18
     SZANTO ALEXANDER,
19
                          Defendants.
20
21        Plaintiff Peter Szanto has filed a Notice of Motion and Motion to

22   Postpone Trial (the Motion).          Doc. No. 449.    The Court has considered

23   the Motion and determines that a hearing is not necessary.                     LBR 7007-

24   1(d)(1).

25        On September 13, 2017, the Court entered a Second Amended

26   Scheduling Order (the Scheduling Order).            Doc. No. 259.         To address


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     POSTPONE TRIAL (Doc. 449)

                           Case 16-03114-pcm   Doc 450   Filed 06/18/19
 1   Plaintiff’s demonstrated pattern and practice of delay in this adversary

 2   proceeding, the Scheduling Order provides, in part, that any motion

 3   “must be accompanied by a separate affidavit or declaration, supporting
 4   factual contentions such as claims of illness . . . .            An affidavit or

 5   declaration shall authenticate and include exhibits or documents

 6   supporting the factual contentions to the extent such documents or
 7   exhibits exist.   Any motion not adequately supported by evidence may be
 8   denied without a hearing.”    Doc. 259.    The Court has warned Plaintiff,

 9   on multiple occasions, that factual contentions in motions must be
10   supported by authenticated, corroborating exhibits and documents.
11   Plaintiff nevertheless filed the Motion without any independent,

12   corroborating evidence.   Accordingly, in the interest of justice and
13   good cause appearing therefor,
14        IT IS HEREBY ORDERED that the Motion is DENIED.

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